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                                    NATHAN  SOMMERS   JACOBS
                                              A PROFESSIONAL CORPORATION                                   EXHIBIT
                                             2800 POST OAK BLVD., 61ST FLOOR
                                                HOUSTON, TEXAS 77056-6102                                     1
                                                TELEPHONE NO. 713-960-0303
                                                 FACSIMILE NO. 713-892-4800



                                                                                                                             PAGE: 1
     DONGTAI INVESTMENT GROUP, LLC                                                                                     JUNE 07, 2023
     11200 WESTHEIMER                                                                         CLIENT.MATTER NO.       190218-22356
     SUITE 120                                                                                      INVOICE NO.:             149134
     HOUSTON TX 77042

     ATTN: YAOU LI


     FEDERAL RECEIVERSHIP




                     Payments received after 06/07/2023 are not included on this statement.



                                          FOR PROFESSIONAL SERVICES THROUGH 05/31/2023

                                                                                                               HOURS
08/03/2022   JL      OFFICE CONFERENCE WITH R. SOMMERS REGARDING CASE BACKGROUND.                                0.90          0.00

08/08/2022   JL      BEGIN ANALYZING THE DEPOSITION OF M. UDAYAN AND DRAFTING DEPOSITION
                     SUMMARY.                                                                                      2.20      605.00

08/09/2022   JL      FINISH ANALYZING THE DEPOSITION OF M. UDAYAN AND DRAFTING DEPOSITION
                     SUMMARY.                                                                                      4.20    1,155.00
             JL      CONFERENCE WITH RECEIVER, R. SOMMERS, REGARDING CLOSING STATEMENT AND
                     DEPOSITION.                                                                                   0.30        0.00
             JL      CONFER WITH I. KENNEDY REGARDING SUBPOENAING TITLE COMPANY TO OBTAIN FILES
                     RELATING TO THE SALE OF DONGTAI'S HOTEL, CROWNE PLAZA HOTEL.                                  0.10        0.00
             JL      BEGIN ANALYZING THE PURCHASE AND SALES AGREEMENT OF CROWNE PLAZA HOTEL
                     AND DRAFTING MEMO REGARDING SAME.                                                             0.70      192.50
             JL      BEGIN ANALYZING THE LETTER OF DENIAL FROM PALOMAR AND DRAFTING MEMO
                     REGARDING SAME.                                                                               0.90      247.50

08/10/2022   JL      DETERMINE AND STRATEGIZE HOW TO OBTAIN CLOSING STATEMENTS AND THEN
                     RESEARCHED SUBPOENA SCOPE.                                                                    0.80      220.00
             JL      CONTINUED ANALYZING THE LETTER OF DENIAL FROM PALOMAR AND DRAFTING MEMO
                     REGARDING SAME.                                                                               1.00      275.00

08/11/2022   JL      FINISH ANALYZING PALOMAR'S LETTER OF DENIAL OF INSURANCE CLAIM AND DRAFTING
                     MEMO REGARDING SAME.                                                                          1.00      275.00
             JL      FINISH ANALYZING PURCHASE AND SALES AGREEMENT FOR CROWNE PLAZA HOUSTON
                     AND DRAFTING MEMO REGARDING SAME.                                                             1.80      495.00
             JL      STRATEGIZE AND REVIEW DOCUMENTS FOR POTENTIAL CREDITORS OF DONGTAI AND
                     DRAFTED CONTACT LIST FOR SAME.                                                                0.60      165.00
             JL      DRAFT SUBPOENA TO FIDELITY NATIONAL TITLE.                                                    0.30       82.50
             JL      PRESENT FINDINGS AND REPORTS REGARDING PALOMAR'S DENIAL OF DONGTAI'S
                     INSURANCE CLAIM, THE PURCHASE AND SALES AGREEMENT, AND LIST OF POTENTIAL
                     CREDITORS TO RECEIVER.                                                                        0.20        0.00

08/12/2022   JL      CORRESPOND WITH I. KENNEDY REGARDING SUBPOENA AND CONSIDERATION OF FED. R.
                     CIV. P. 45(C)(2).                                                                             0.40        0.00

08/15/2022   JL      OFFICE MEETING WITH R. SOMMERS, DONGTAI'S RECEIVER, REGARDING CLOSING
                     STATEMENTS AND EXHIBITS TO THE PURCHASE AND SALES AGREEMENT FOR THE CROWNE
                     PLAZA SUITES, HOUSTON, TEXAS.                                                                 0.30        0.00
             JL      DRAFT EMAIL TO NATIONAL FIDELITY TITLE COMPANY TO REQUEST DOCUMENTS
                     RELATING TO THE HOTEL SALE.                                                                   1.00      275.00

08/16/2022   JL      CORRESPOND WITH RECEIVER, REGARDING CLOSING STATEMENTS AND EXHIBITS TO THE
                     PURCHASE AND SALES AGREEMENT FOR THE CROWNE PLAZA SUITES, HOUSTON, TEXAS.                     0.10        0.00
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     DONGTAI INVESTMENT GROUP, LLC                                                                                JUNE 07, 2023
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                                                                                                          HOURS
             JL    TELEPHONE CONFERENCE WITH MS. KRISTY TOMASELLO FROM NATIONAL FIDELITY TITLE
                   GROUP, THE ESCROW HOLDER FOR THE SALE OF THE CROWNE PLAZA SUITES, HOUSTON,
                   TEXAS TO OBTAIN DOCUMENTS RELATED TO THE CONTRACT.                                         0.10       27.50

08/17/2022   JL    PROCEED WITH SERVING SUBPOENA ON NATIONAL FIDELITY TITLE GROUP TO OBTAIN
                   DOCUMENTS RELATED TO THE CONTRACT.                                                         0.10       27.50
             JL    CORRESPOND WITH RECEIVER, REGARDING SUBPOENA.                                              0.10        0.00
             CMR   CORRESPONDENCE REGARDING TELEPHONE CONFERENCE WITH COMPTROLLER OFFICE
                   AND REVIEW DOCUMENTS RELATED THERETO.                                                      0.40      146.00

08/22/2022   JL    STRATEGIZE METHODS FOR OBTAINING DONGTAI'S BOOKS AND RECORDS FROM THE
                   TEMPORARY ADMINISTRATOR OF MICHAEL UDAYAN'S ESTATE WITH RECEIVER.                          0.10        0.00
             ILK   RESEARCH ISSUES REGARDING CLAIMS RESOLUTION AND PRECLUSION IN FEDERAL
                   EQUITABLE RECEIVERSHIP.                                                                    2.50      937.50

08/23/2022   JL    CONTINUE STRATEGIZING METHODS FOR OBTAINING DONGTAI'S BOOKS AND RECORDS
                   FROM THE TEMPORARY ADMINISTRATOR OF MICHAEL UDAYAN'S ESTATE WITH RECEIVER.                 0.30        0.00
             JL    RESEARCHED ADMINISTRATION OF MICHAEL UDAYAN'S ESTATE RECORDS TO DETERMINE
                   RELEVANT PARTIES WHO MAY HAVE POSSESSION OF DONGTAI'S BOOKS AND RECORDS.                   0.30       82.50
             ILK   PREPARE MOTION TO ESTABLISH BAR DATE; RESEARCH ISSUES REGARDING SAME.                      3.90    1,462.50

08/24/2022   JL    DRAFT EMAIL TO ATTORNEYS INVOLVED IN THE ESTATE OF MICHAEL UDAYAN
                   REGARDING TURNOVER OF DONGTAI'S BOOKS AND RECORDS.                                         0.90      247.50
             ILK   EDITS TO MOTION TO ESTABLISH BAR DATE.                                                     1.30      487.50

08/25/2022   JL    CONFERENCE WITH RECEIVER REGARDING NEXT STEPS IN OBTAINING DONGTAI'S BUSINESS
                   RECORDS.                                                                                   0.20        0.00
             JL    IMPLEMENT COMMENTS INTO EMAILS TO ATTORNEYS INVOLVED IN THE ESTATE OF
                   MICHAEL UDAYAN REGARDING TURNOVER OF DONGTAI'S BOOKS AND RECORDS.                          0.30       82.50
             JL    TELECONFERENCE WITH STEPHANIE DAVIS, THE TEMPORARY ADMINISTRATOR FOR M.
                   UDAYAN'S PROBATE ESTATE, REGARDING POSSESSION OF DONGTAI'S BUSINESS RECORDS.               0.10       27.50
             JL    TELEPHONE CONFERENCE WITH RECEIVER REGARDING REPAIRS CONDUCTED ON HOTEL.                   0.10        0.00
             JL    ANALYZE MR. UDAYAN'S SWORN STATEMENT AND NOTES REGARDING REPAIRS
                   CONDUCTED ON HOTEL.                                                                        0.20       55.00
             ILK   EDITS TO MOTION TO ESTABLISH BAR DATE.                                                     1.30      487.50

08/26/2022   JL    CONFER WITH RECEIVER REGARDING POSSESSION OF DONGTAI'S BUSINESS RECORDS.                   0.50        0.00
             JL    CORRESPOND WITH C. MOORE REGARDING POSSESSION OF DONGTAI'S BUSINESS
                   RECORDS.                                                                                   0.10       27.50
             JL    CORRESPOND WITH STEPHANIE DAVIS, THE TEMPORARY ADMINISTRATOR FOR M.
                   UDAYAN'S PROBATE ESTATE, REGARDING POSSESSION OF DONGTAI'S BUSINESS RECORDS.               0.10       27.50

08/31/2022   JL    ANALYZE DOCUMENTS PRODUCED BY FIDELITY NATIONAL TITLE GROUP, INC. REGARDING
                   DONGTAI'S SALE OF THE CROWNE PLAZA HOUSTON HOTEL.                                          0.30       82.50
             JL    STRATEGIZE SUBPOENA OF MS. WEELBORG FOR DONGTAI'S BUSINESS RECORDS.                        0.10       27.50
             JL    ANALYZE DOCUMENT PRODUCTION FROM FIDELITY NATIONAL TITLE GROUP, INC.                       0.10       27.50
             JL    DRAFT SUBPOENA FOR MS. WEELBORG.                                                           1.20      330.00

09/01/2022   JL    ATTENTION TO SUBPOENA FOR MS. WEELBORG.                                                    0.30       82.50

09/02/2022   JL    CONFERENCE WITH R. SOMMERS REGARDING DOCUMENT PRODUCTION FROM MR.
                   UDAYAN'S ESTATE AND DATA FORENSIC PROCEDURES.                                              0.70        0.00
             JL    CORRESPOND WITH FIDELITY NATIONAL TITLE COMPANY REGARDING DOCUMENT
                   PRODUCTION RELATED TO THE PSA.                                                             0.30       82.50
             JL    CORRESPOND WITH H. WEELBORG REGARDING DOCUMENT PRODUCTION FROM MR.
                   UDAYAN'S ESTATE.                                                                           0.20       55.00
             JL    CORRESPOND WITH INNOVATION DRIVEN, THE DATA FORENSICS FIRM, REGARDING
                   EXTRACTION OF DONGTAI'S BUSINESS RECORDS FROM MR. UDAYAN'S COMPUTER.                       0.30       82.50
             JL    CORRESPONDENCE WITH COUNSELS FROM THE PROBATE ESTATE OF MR. UDAYAN
                   REGARDING DATA EXTRACTION FROM MR. UDAYAN'S COMPUTER.                                      0.80      220.00
             JL    CORRESPOND WITH C. MOORE REGARDING EXTRACTION OF DONGTAI'S BUSINESS
                   RECORDS FROM MR. UDAYAN'S COMPUTER.                                                        0.40      110.00

09/06/2022   JL    CORRESPOND TO FOLLOW UP ON FIDELITY TITLE COMPANY'S DOCUMENT PRODUCTION.                   0.10       27.50
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     DONGTAI INVESTMENT GROUP, LLC                                                                                 JUNE 07, 2023
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                                                                                                           HOURS
09/08/2022   JL    FOLLOWED UP WITH H. WHEELBORG ELECTRONIC DATA EXTRACTION.                                 0.20         55.00

09/09/2022   JL    CORRESPONDED BACK AND FORTH WITH FIDELITY NATIONAL BANK, REGARDING
                   PAYMENT FOR DOCUMENT PRODUCTION.                                                            0.50        0.00

09/12/2022   JL    FOLLOWED UP WITH H. WEELBORG AND S. DAVIS REGARDING DATA FORENSIC FIRM.                     0.40      110.00
             JL    CONFERENCE TO DISCUSS POTENTIAL BASIS TO EXPEDITE THE DOCUMENT PRODUCTION
                   PROCESS.                                                                                    0.10        0.00
             JL    CONFERENCE TO DISCUSS UPDATE ON DOCUMENT PRODUCTION FROM MR. UDAYAN'S
                   ESTATE.                                                                                     0.10        0.00
             JL    DRAFTED EMAIL TO ELECTRONIC DATA FORENSICS FIRM TO INQUIRY ON ENGAGEMENT.                   0.20       55.00

09/13/2022   JL    CORRESPONDED WITH S. DAVIS REGARDING DOCUMENT PRODUCTION UPDATE.                            0.10       27.50

09/15/2022   JL    PARTICIPATE IN TELEPHONE CONFERENCE WITH MELISSA UDAYAN REGARDING
                   POSSESSION OF DONGTAI RECORDS LOCATED AT MR. UDAYAN'S HOME.                                 0.40      110.00
             JL    EXCHANGE EMAILS WITH S. DAVIS AND H. WEELBORG REGARDING DOCUMENT
                   PRODUCTION AND SUBPOENA.                                                                    0.90      247.50
             JL    OFFICE CONFERENCE TO STRATEGIZE NEXT STEPS IN OBTAINING DONGTAI BUSINESS
                   RECORDS.                                                                                    0.30        0.00
             JL    CONDUCTED BACKGROUND RESEARCH ON MR. UDAYAN'S PROBATE MATTER TO
                   DETERMINE WHO MAY HAVE POSSESSION OF THE DONGTAI'S BUSINESS RECORDS AND
                   WHO MAY BE ENTITLED TO POSSESSION OF MR. UDAYAN'S DOCUMENTS/ASSETS.                         1.00      275.00
             JL    DRAFTED SUBPOENAS TO ISSUE ON S. DAVIS AND MELISSA UDAYAN.                                  0.20       55.00
             ILK   PARTICIPATE IN OFFICE CONFERENCES WITH RECEIVER AND MS. LE REGARDING OPEN CASE
                   ISSUES; EXCHANGE EMAILS REGARDING SAME.                                                     1.00        0.00

09/16/2022   JL    PARTICIPATED IN TELEPHONE CONFERENCE WITH S. DAVIS, H. WEELBORG, AND C. MOORE
                   REGARDING DONGTAI'S BUSINESS RECORDS.                                                       0.30       82.50
             JL    DRAFT LETTER TO S. DAVIS CONFIRMING AGREEMENT TO STAY THE SUBPOENA.                         0.30       82.50
             ILK   RESEARCH ISSUES REGARDING SUBPOENAS REGARDING FORMER RECEIVER; EXCHANGE
                   EMAILS AND PARTICIPATE IN TELEPHONE CONFERENCE WITH INTERESTED PARTIES
                   REGARDING SAME; REVIEW REVISED SUBPOENAS AND DRAFT STAY LETTER.                             2.50      937.50

09/19/2022   JL    ATTENTION TO DOCUMENT PRODUCTION FROM FIDELITY NATIONAL TITLE.                              0.10       27.50

09/21/2022   ILK   RESEARCH ISSUES REGARDING INDEMNIFICATION ACTION; SUMMARIZE RESEARCH FOR
                   RECEIVER; EDIT SUBPOENAS; EXCHANGE EMAILS WITH THIRD PARTY DISCOVERY PARTIES
                   REGARDING SUBPOENA COMPLIANCE.                                                              2.80    1,050.00
             JL    ANALYZE CORRESPONDENCE REGARDING SUBPOENAS TO S. DAVIS AND MELISSA UDAYAN;
                   MADE CHANGES TO SUBPOENA.                                                                   0.20       55.00

09/22/2022   ILK   RESEARCH ISSUES REGARDING INDEMNIFICATION CLAIM.                                            1.20      450.00

09/23/2022   JL    EXCHANGE EMAILS WITH S. DAVIS REGARDING SUBPOENA.                                           0.10       27.50
             ILK   REVIEW CHANGES TO SUBPOENA; EXCHANGE EMAIL WITH MR. UDAYAN'S ESTATE'S
                   ADMINISTRATOR REGARDING SAME; RESEARCH ISSUES REGARDING INDEMNIFICATION
                   CLAIM.                                                                                      1.70      637.50

09/28/2022   ILK   PARTICIPATE IN TELEPHONE CONFERENCE WITH PLAINTIFF'S COUNSEL.                               0.70        0.00
             JL    ANALYZE DONGTAI DOCUMENTS PRODUCED BY MR. UDAYAN'S ESTATE TEMPORARY
                   ADMINISTRATOR.                                                                              0.50      137.50

09/29/2022   ILK   EXCHANGE EMAILS AND CORRESPONDENCE WITH PLAINTIFF'S COUNSEL REGARDING
                   SEALED DOCUMENTS.                                                                           0.50        0.00
             JL    EXCHANGE EMAILS REGARDING DATA FORENSICS AND FEDERAL COURT SEALED
                   DOCUMENTS.                                                                                  0.40      110.00
             JL    DRAFT MOTION TO MODIFY BAR DATE ORDER AND PROPOSED ORDER.                                   1.50      412.50

09/30/2022   ILK   RESEARCH ISSUES REGARDING INDEMNIFICATION CLAIM; EDIT MOTION TO MODIFY BAR
                   DATE ORDER.                                                                                 2.80    1,050.00
             JL    MADE CHANGES TO MOTION TO MODIFY AND ACCOMPANY DOCUMENTS.                                   0.30       82.50

10/03/2022   ILK   EDIT MOTION TO MODIFY; EXCHANGE EMAIL WITH PLAINTIFF'S COUNSEL REGARDING
                   SAME.                                                                                       0.50      187.50
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                                                                                                             HOURS

10/04/2022   ILK   EXCHANGE EMAIL WITH DEFENDANT'S COUNSEL REGARDING MOTION TO MODIFY;
                   UPDATE CERTIFICATE OF CONFERENCE.                                                             0.10       37.50

10/06/2022   ILK   EDIT MOTION TO MODIFY.                                                                        0.30      112.50
             JL    ANALYZED MOTION TO MODIFY BAR DATE.                                                           0.20        0.00

10/07/2022   JL    CORRESPOND WITH S. DAVIS, I. KENNEDY, AND R. SOMMERS REGARDING DATA FORENSICS
                   ISSUE.                                                                                        0.40      110.00
             ILK   EXCHANGE EMAILS WITH COURT AND MS. LE REGARDING MOTION TO MODIFY AND OPEN
                   CASE ISSUES.                                                                                  0.10       37.50

10/10/2022   ILK   RESEARCH ISSUES REGARDING HANDLING OF POTENTIAL CLAIMS.                                       0.80      300.00

10/11/2022   ILK   RESEARCH ISSUE REGARDING BAR DATE NOTICE FOR RECEIVER.                                        0.30      112.50

10/13/2022   ILK   TELEPHONE CONFERENCE WITH COUNSEL TO PETER HUI, POTENTIAL CLAIMANT TO
                   RECEIVERSHIP; RESEARCH ISSUES REGARDING POTENTIAL LITIGATION; PARTICIPATE IN
                   OFFICE CONFERENCE WITH RECEIVER REGARDING SAME.                                               1.30      487.50
             JL    PRESENT STATUS UPDATE REGARDING DATA EXTRACTION.                                              0.10        0.00

10/14/2022   JL    EXCHANGE EMAIL REGARDING FORENSICS DATA EXTRACTION.                                           0.20       55.00
             ILK   EXCHANGE EMAILS REGARDING CLAIM OF MR. HUI WITH RECEIVER AND COUNSEL TO MR.
                   HUI.                                                                                          0.30      112.50

10/17/2022   ILK   PARTICIPATE IN TELEPHONE CONFERENCE WITH COUNSEL TO CLAIMANT MR. HUI;
                   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING SAME; EXCHANGE
                   EMAILS REGARDING SEALED DOCUMENTS; REVIEW OF DOCUMENTS REGARDING
                   RECEIVERSHIP.                                                                                 1.50      562.50

10/18/2022   ILK   RESEARCH ISSUES REGARDING INDEMNIFICATION LITIGATION.                                         0.50      187.50

10/19/2022   ILK   RESEARCH ISSUES REGARDING INDEMNIFICATION LITIGATION; EXCHANGE EMAILS WITH
                   RECEIVER REGARDING SAME.                                                                      0.70      262.50

10/20/2022   JL    CORRESPOND WITH COUNSEL REGARDING FORENSICS FOR MR. UDAYAN'S COMPUTERS.                       0.10       27.50

10/24/2022   JL    ATTENTION TO SUBPOENA RESPONSE AND DOCUMENT PRODUCTION.                                       0.10        0.00
             ILK   REVIEW STATE COURT PLEADING AGAINST RECEIVER; PARTICIPATE IN OFFICE CONFERENCE
                   WITH RECEIVER REGARDING LITIGATION STRATEGY; REVIEW DOCKETS REGARDING SAME.                   0.80      300.00

10/25/2022   ILK   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING LITIGATION STRATEGY;
                   EXCHANGE EMAILS WITH MR. HUI'S COUNSEL REGARDING FILED LITIGATION.                            0.40      150.00

10/26/2022   ILK   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING OUTSTANDING
                   JUDGMENT COLLECTION WORK.                                                                     0.20       75.00

10/27/2022   ILK   ADDRESS RECEIVERSHIP MANAGEMENT ISSUES; OFFICE CONFERENCE WITH RECEIVER
                   REGARDING SAME.                                                                               0.50        0.00

10/28/2022   ILK   REVIEW OF NEW CLAIMS; ATTENTION TO ADDRESSING DOCUMENT ISSUES WITH RECEIVER.                  0.50      187.50

11/01/2022   JL    ATTENTION TO DOCUMENT PRODUCTION FROM MR. UDAYAN'S ESTATE.                                    0.10        0.00

11/02/2022   JL    FOLLOW UP WITH S. DAVIS REGARDING DOCUMENT PRODUCTION AND REPORT TO
                   RECEIVER REGARDING SAME.                                                                      0.10       27.50
             ILK   EXCHANGE EMAIL WITH CLAIMANT REGARDING RECEIVERSHIP DOCUMENTS.                                0.10       37.50

11/07/2022   ILK   RESEARCH ISSUES REGARDING DEFENSE OF STATE COURT LAWSUIT (HUI V. SOMMERS);
                   EXCHANGE EMAILS WITH RECEIVER REGARDING SAME.                                                 3.50    1,312.50

11/08/2022   JL    CORRESPOND WITH COUNSEL REGARDING FORENSICS STATUS UPDATE.                                    0.30       82.50
             ILK   RESEARCH ISSUES REGARDING DEFENSE OF STATE COURT LAWSUIT (HUI V. SOMMERS)                     3.00    1,125.00

11/09/2022   ILK   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING RECEIVERSHIP OPEN
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                                                                                                 INVOICE NO.:             149134
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                                                                                                            HOURS
                   ISSUES.                                                                                    0.30        112.50

11/10/2022   JL    CORRESPOND WITH COUNSEL REGARDING DATA FORENSICS.                                            0.10       27.50
             ILK   EXCHANGE EMAILS WITH INTERESTED PARTIES REGARDING DOCUMENT REQUESTS;
                   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING RECEIVERSHIP
                   STRATEGY ISSUES.                                                                             0.30      112.50

11/16/2022   ILK   REVIEW AND ANALYZE PLEADINGS AND OTHER DOCUMENTS FROM RECEIVERSHIP.                          0.80      300.00
             JL    PHONE CALL WITH MR. UDAYAN'S ESTATE ADMINISTRATOR (S. DAVIS) REGARDING DATA
                   FORENSICS OF MR. UDAYAN'S LAPTOPS.                                                           0.20       55.00
             JL    REPORT TO AND CONFER WITH THE RECEIVER REGARDING FORENSICS MATTER AND
                   DISCUSS LIST OF KEY SEARCH WORDS TO PROVIDE TO S. DAVIS.                                     0.80      220.00
             JL    INVESTIGATE AND ANALYZE DONGTAI'S RECORDS AND PUBLIC FILINGS TO CREATE LIST
                   OF KEY SEARCH WORDS AND IDENTIFY POTENTIAL CLAIMANTS.                                        2.50        0.00

11/17/2022   JL    REPORT TO RECEIVER REGARDING DONGTAI'S PAST LAWSUITS.                                        0.10        0.00

11/30/2022   JL    CORRESPOND WITH S. DAVIS REGARDING DOCUMENT PRODUCTION UPDATE.                               0.10       27.50

12/01/2022   JL    CORRESPOND WITH S. DAVIS REGARDING DOCUMENT PRODUCTION UPDATE.                               0.10       27.50

12/07/2022   JL    REQUEST STATUS UPDATE FROM S. DAVIS REGARDING DOCUMENT PRODUCTION.                           0.10       27.50

12/08/2022   JL    ANALYZE DOCUMENT PRODUCTION FROM S. DAVIS.                                                   0.30       82.50

12/13/2022   ILK   PREPARE MOTION FOR ACCESS TO SEALED PLEADINGS; CONFER WITH COUNSEL FOR
                   PARTIES REGARDING SAME.                                                                      1.50      562.50

12/15/2022   JL    CORRESPOND WITH S. DAVIS REGARDING DOCUMENT PRODUCTION.                                      0.10       27.50

12/16/2022   ILK   RESEARCH ISSUES REGARDING STATE COURT LITIGATION.                                            2.00      750.00

12/21/2022   ILK   REVIEW UNSEALED PLEADINGS.                                                                   1.80      675.00

12/30/2022   ILK   PREPARE MEMO ANALYZING POTENTIAL DEFENSES AND ESTIMATION OF CLAIM FOR
                   INDEMNITY; EXCHANGE EMAILS WITH RECEIVER REGARDING SAME.                                     4.70    1,762.50

01/03/2023   ILK   RESEARCH ISSUES REGARDING RECEIVERSHIP.                                                      0.60        0.00
             JL    CORRESPOND WITH S. DAVIS REGARDING DOCUMENT PRODUCTION.                                      0.10       28.50

01/05/2023   JL    CORRESPOND WITH S. DAVIS AND REPORT TO THE RECEIVER REGARDING DOCUMENT
                   PRODUCTION.                                                                                  0.10       28.50

01/06/2023   JL    CORRESPOND WITH S. DAVIS AND REPORT TO THE RECEIVER REGARDING DOCUMENT
                   PRODUCTION.                                                                                  0.10       28.50

01/09/2023   JL    CORRESPOND WITH S. DAVIS REGARDING DOCUMENT PRODUCTION.                                      0.10       28.50
             ILK   EXCHANGE EMAILS WITH RECEIVER REGARDING STATE COURT LITIGATION.                              0.40        0.00

01/10/2023   JL    ANALYZE DOCUMENT PRODUCTION BATES LABELED 000380-001374 FROM M. UDAYAN'S
                   ESTATE (S. DAVIS) AND REPORT FINDINGS TO THE RECEIVER.                                       2.00      570.00
             ILK   REVIEW DOCUMENTS REGARDING RECEIVERSHIP; EXCHANGE EMAILS WITH FORMER
                   RECEIVER'S COUNSEL REGARDING RECEIVERSHIP.                                                   1.10      423.50

01/12/2023   ILK   REVIEW DOCUMENT PRODUCTION.                                                                  1.40        0.00

01/13/2023   ILK   REVIEW DOCUMENT PRODUCTION; ANALYZE PRODUCTION FOR ADDITIONAL CREDITORS
                   REQUIRING NOTICE.                                                                            6.30    2,425.50

01/16/2023   JL    CORRESPOND WITH RECEIVER AND S. DAVIS REGARDING DOCUMENT SEARCH PROCESS.                     0.10       28.50
             ILK   REVIEW AND EDIT STATE COURT CLAIM ANALYSIS; EXCHANGE EMAIL WITH COUNSEL FOR
                   THE EQUITY HOLDERS REGARDING SAME; PARTICIPATE IN OFFICE CONFERENCE WITH
                   RECEIVER REGARDING SAME.                                                                     1.20      462.00

01/19/2023   JL    CORRESPOND WITH S. DAVIS AND THE RECEIVER REGARDING DOCUMENT PRODUCTION.                     0.30       85.50
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                                                                                                            HOURS
             ILK   RESEARCH ISSUES REGARDING STATE COURT LITIGATION; EXCHANGE EMAILS WITH
                   RECEIVER AND COUNSEL FOR EQUITY INTERESTS.                                                   1.00      385.00

01/20/2023   ILK   PARTICIPATE IN CONFERENCE WITH EQUITY INTERESTS REGARDING CLAIMS PROCESS.                    0.50      192.50

01/25/2023   JL    CORRESPOND WITH S. DAVIS AND RECEIVER REGARDING DOCUMENT PRODUCTION.                         0.10       28.50

01/30/2023   JL    ANALYZE POTENTIAL CREDITOR'S CLAIM FROM S. DAVIS.                                            0.10       28.50

01/31/2023   JL    INVESTIGATE POTENTIAL CREDITOR'S CLAIM FROM UDAYAN'S ESTATE.                                 0.40      114.00
             JL    RESPOND TO S. DAVIS REGARDING POTENTIAL CREDITOR'S CLAIM.                                    0.20       57.00

02/01/2023   ILK   EXCHANGE EMAIL WITH EQUITY HOLDER'S COUNSEL REGARDING CLAIMS.                                0.20       77.00

02/02/2023   JL    TELEPHONE CONFERENCE WITH S. DAVIS REGARDING STATUS UPDATE ON DOCUMENT
                   PRODUCTION, CREDITOR CLAIM, AND POTENTIAL ADMINISTRATOR SUCCESSOR.                           0.30       85.50
             JL    PRESENT STATUS UPDATE TO THE RECEIVER REGARDING DOCUMENT PRODUCTION,
                   CREDITOR CLAIM, AND POTENTIAL ADMIN SUCCESSOR FOR MR. UDAYAN'S ESTATE.                       0.30        0.00
             ILK   REVIEW DOCUMENTS PRODUCED BY ESTATE OF MR. UDAYAN.                                           2.00      770.00

02/03/2023   JL    OFFICE CONFERENCE WITH THE RECEIVER REGARDING POTENTIAL CREDITOR'S CLAIM AND
                   STRATEGY GOING FORWARD.                                                                      0.30        0.00
             JL    OFFICE CONFERENCE WITH I. KENNEDY REGARDING POTENTIAL CREDITOR'S CLAIM.                      0.10       28.50

02/07/2023   JL    ANALYZE CREDITOR'S CLAIM RECEIVED FROM MR. UDAYAN'S ESTATE.                                  0.20       57.00
             ILK   EXCHANGE EMAILS WITH EQUITY HOLDER'S COUNSEL REGARDING HUII PROOF OF CLAIM;
                   PARTICIPATE IN OFFICE CONFERENCES WITH RECEIVER AND MS. LE REGARDING MR.
                   UDAYAN'S ESTATE'S PROOF OF CLAIM.                                                            0.60        0.00

02/08/2023   ILK   PREPARE RESPONSE TO HUII CLAIMANTS PROOF OF CLAIM.                                           1.60      616.00

02/09/2023   ILK   PREPARE AND EDIT RESPONSE TO HUII CLAIMANTS PROOF OF CLAIM; PARTICIPATE IN
                   OFFICE CONFERENCE WITH RECEIVER REGARDING RESPONSE TO PROOF OF CLAIM; REVIEW
                   DOCUMENTS FROM MR. UDAYAN'S EXECUTOR REGARDING PROOF OF CLAIM.                               1.50      577.50
             JL    RESEARCH UDAYAN'S PROBATE RECORDS FOR CLAIM BAR DATE.                                        0.20        0.00
             JL    OFFICE CONFERENCE WITH THE RECEIVER REGARDING POTENTIAL CLAIM.                               0.10        0.00

02/10/2023   ILK   EDIT RESPONSE TO HUII CLAIMANTS PROOF OF CLAIM; EXCHANGE EMAILS WITH COUNSEL
                   FOR HUII CLAIMANTS REGARDING RESPONSE TO PROOF OF CLAIM; PARTICIPATE IN OFFICE
                   CONFERENCES WITH RECEIVER REGARDING RESPONSE TO PROOF OF CLAIM.                              1.10      423.50
             JL    CORRESPOND WITH THE RECEIVER REGARDING POTENTIAL CLAIM AND TO REPORT ON
                   PROBATE CLAIMS BAR DATE RESEARCH.                                                            0.20       57.00
             JL    EXCHANGE EMAILS WITH ADMINISTRATOR FOR UDAYAN'S ESTATE (S.DAVIS) REGARDING
                   PROCEEDINGS.                                                                                 0.20       57.00
             JL    RESEARCH PROBATE CLAIMS BAR DATE ISSUE.                                                      0.40        0.00

02/13/2023   JL    BEGIN REVIEWING AND ANALYZING DOCUMENT PRODUCTION.                                           0.30       85.50

02/14/2023   JL    REVIEWED AND ANALYZED DOCUMENT PRODUCTION FROM UDAYAN'S ESTATE.                              2.10      598.50

02/16/2023   JL    CORRESPOND WITH THE RECEIVER AND S. DAVIS REGARDING UDAYAN'S DEVICES.                        0.10       28.50
             JL    DRAFT STATUS SUMMARY FOR THE RECEIVER REGARDING PRODUCTION.                                  0.40        0.00

02/20/2023   ILK   PREPARE MOTION FOR CLAIM PROCEDURES; PARTICIPATE IN OFFICE CONFERENCES WITH
                   RECEIVER REGARDING SAME.                                                                     2.80        0.00

02/21/2023   ILK   PREPARE AND EDIT MOTION FOR CLAIM PROCEDURES; PREPARE AND EDIT MOTION TO
                   STAY STATE COURT LITIGATION; PARTICIPATE IN OFFICE CONFERENCES WITH RECEIVER
                   REGARDING SAME; ANALYZE CLAIM ISSUES FOR RECEIVER AND REVIEW DOCUMENTATION
                   REGARDING THE SAME; RESEARCH ISSUES REGARDING CLAIM PROCEDURES; EXCHANGE
                   EMAILS WITH COUNSEL FOR MR. HUI REGARDING CLAIM, LITIGATION AND MOTIONS.                     5.80    2,233.00

02/22/2023   ILK   EDIT MOTION REGARDING RECEIVERSHIP PROCEDURES; EDIT PROPOSED ORDER;
                   EXCHANGE EMAIL WITH CREDITORS REGARDING SAME; PARTICIPATE IN OFFICE
                   CONFERENCE WITH RECEIVER REGARDING SAME.                                                     1.10      423.50
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     DONGTAI INVESTMENT GROUP, LLC                                                                                  JUNE 07, 2023
                                                                                           CLIENT.MATTER NO.       190218-22356
                                                                                                 INVOICE NO.:             149134
     FEDERAL RECEIVERSHIP




                                                                                                            HOURS

02/23/2023   ILK   EDIT MOTION REGARDING RECEIVERSHIP PROCEDURES; EDIT CERTIFICATE OF SERVICE;
                   SUPERVISION OF FILING OF SAME.                                                               1.00      385.00

02/24/2023   ILK   PREPARE AND EDIT MOTION TO STAY LITIGATION; EXCHANGE EMAIL WITH RECEIVER
                   REGARDING SAME; RESEARCH AND ADDRESS ISSUES REGARDING SERVICE OF MOTION TO
                   ESTABLISH CLAIM PROCEDURES ON UDAYAN ESTATE BENEFICIARIES.                                   1.60      616.00
             JL    RESEARCH CLIENT FILE REGARDING NOTICE OF MOTION TO ESTABLISH PROCEDURES.                     0.30        0.00

02/27/2023   ILK   EDIT MOTION TO STAY LITIGATION; EXCHANGE EMAILS WITH RECEIVER REGARDING SAME.                0.50      192.50

02/28/2023   ILK   EXCHANGE EMAILS WITH COURT REGARDING PENDING MOTIONS; REVIEW COURT'S
                   ORDERS AND COORDINATE CALENDARING OF DEADLINES; RESEARCH ISSUES REGARDING
                   CLAIM OBJECTIONS.                                                                            4.70    1,809.50

03/01/2023   CMR   MEETING WITH R. SOMMERS REGARDING DISSOLUTION OF DONGTAI ENTITY.                             0.20       75.00

03/02/2023   CMR   REVIEW COMMUNICATIONS REGARDING ENTITY.                                                      0.20       75.00
             CMR   CORRESPONDENCE WITH CPA REGARDING TERMINATION OF ENTITY.                                     0.20       75.00
             ILK   EDITS TO CLAIM NOTICE; REVIEW AND EDIT EXHIBITS TO SAME.                                     1.80      693.00

03/03/2023   MEH   REVIEW LLC TERMINATION FORM AND CHAPTER 11 OF TEXAS BUSINESS ORGANIZATION
                   CODE.                                                                                        0.50       65.00
             JL    STRATEGIZE THE RECEIVER'S RESPONSES TO CREDITORS' CLAIMS WITH I. KENNEDY.                    0.10       28.50

03/06/2023   ILK   OFFICE CONFERENCE WITH RECEIVER REGARDING CLAIM OBJECTIONS; RESEARCH ISSUES
                   REGARDING CLAIM OBJECTIONS.                                                                  1.10        0.00
             JL    OFFICE CONFERENCE WITH THE RECEIVER REGARDING OBJECTIONS TO CREDITOR'S
                   CLAIMS.                                                                                      0.50        0.00

03/07/2023   ILK   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING CLAIM OBJECTIONS.                   0.20       77.00
             JL    WORK ON THE RECEIVER'S OBJECTION TO CLAIM NO. 8.                                             1.10      313.50

03/08/2023   JL    ANALYZE EXPEDITED JOINT APPLICATIONS FOR ALLOCATION OF INSURANCE PROCEEDS.                   0.10        0.00
             JL    OFFICE MEETING WITH THE RECEIVER REGARDING CLAIM NO. 9.                                      0.20        0.00
             JL    WORK ON OBJECTION TO CLAIM NO. 8.                                                            2.90      826.50
             ILK   REVIEW FILED CLAIMS; PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING
                   SAME.                                                                                        0.60        0.00

03/09/2023   JL    WORK ON OBJECTION TO CLAIM NO. 8.                                                            0.90      256.50
             JL    OFFICE CONFERENCE WITH THE RECEIVER REGARDING OBJECTIONS TO CLAIM NOS. 8 AND
                   12.                                                                                          0.30        0.00
             JL    WORK ON OBJECTION TO CLAIM NO. 12.                                                           2.80      798.00
             ILK   RESEARCH ISSUES REGARDING OBJECTIONS TO PROOFS OF CLAIM; EDIT OBJECTION TO
                   PROOF OF CLAIM.                                                                              2.00      770.00

03/10/2023   JL    OFFICE CONFERENCE WITH THE RECEIVER REGARDING SHAREHOLDER'S DOCUMENT
                   REQUEST.                                                                                     0.20       57.00
             JL    COMPILE AND PRODUCE DOCUMENTS RESPONSIVE TO SHAREHOLDER'S REQUEST.                           0.20       57.00
             JL    WORK ON OBJECTION TO CLAIM NO. 12.                                                           1.10      313.50
             ILK   PREPARE OBJECTIONS TO PROOFS OF CLAIMS.                                                      5.80    2,233.00

03/13/2023   JL    WORK ON OBJECTION TO CLAIM NO. 12.                                                           0.50      142.50
             JL    OFFICE CONFERENCE WITH THE RECEIVER REGARDING OBJECTIONS AND DEADLINES.                      0.20        0.00
             ILK   PREPARE OBJECTIONS TO PROOFS OF CLAIMS; PARTICIPATE IN OFFICE CONFERENCE WITH
                   RECEIVER REGARDING CLAIM OBJECTIONS; RESEARCH ISSUES REGARDING SAME.                         4.00    1,540.00

03/14/2023   JL    WORK ON OBJECTION TO CLAIM NO. 9, INCLUDING DRAFTING, REVIEWING PROOF OF
                   CLAIMS, AND RESEARCHING CLIENT FILE.                                                         1.20      342.00
             JL    REVISE OBJECTION TO CLAIM NO. 6.                                                             0.70      199.50
             JL    FINALIZE AND PREPARE FOR FILING OBJECTIONS TO CLAIM NO. 8 AND 12 AND
                   CORRESPONDING EXHIBITS.                                                                      0.50      142.50
             ILK   PREPARE OBJECTIONS TO PROOFS OF CLAIMS; PARTICIPATE IN OFFICE CONFERENCE WITH
                   RECEIVER REGARDING CLAIM OBJECTIONS; PARTICIPATE IN OFFICE CONFERENCE WITH MS.
                   LE REGARDING PROOFS OF CLAIM.                                                                3.20    1,232.00
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     DONGTAI INVESTMENT GROUP, LLC                                                                                  JUNE 07, 2023
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     FEDERAL RECEIVERSHIP




                                                                                                            HOURS

03/15/2023   ILK   PREPARE OBJECTIONS TO PROOFS OF CLAIMS; PARTICIPATE IN OFFICE CONFERENCE WITH
                   RECEIVER REGARDING CLAIM OBJECTIONS; PARTICIPATE IN OFFICE CONFERENCE WITH MS.
                   LE REGARDING CASE STATUS; EXCHANGE EMAILS WITH CLAIMANT REGARDING
                   DOCUMENTATION; PARTICIPATE IN TELEPHONE CONFERENCE WITH CLAIMANT
                   REGARDING DOCUMENTATION; REVIEW ADDITIONAL DOCUMENTATION PROVIDED BY
                   CLAIMANT.                                                                                    4.10    1,578.50
             JL    OFFICE CONFERENCE WITH RECEIVER REGARDING CREDITOR'S CLAIM AGAINST UDAYAN'S
                   ESTATE AND NON-CASH PROPERTIES OF DONGTAI.                                                   0.30        0.00

03/16/2023   ILK   REVIEW DOCUMENTS REGARDING OBJECTION TO PROOF OF CLAIM; PARTICIPATE IN
                   OFFICE CONFERENCE WITH RECEIVER REGARDING SAME; EXCHANGE EMAILS WITH EQUITY
                   HOLDER'S COUNSEL REGARDING SAME.                                                             1.00      385.00
             JL    CONTINUE REVISING OBJECTION TO CLAIM NO. 6 AND SUPPORTING AFFIDAVIT.                         0.60      171.00

03/17/2023   JL    ATTENTION TO EXHIBITS FOR OBJECTION TO CLAIM NO. 6.                                          0.10        0.00

03/20/2023   ILK   EDIT CLAIM OBJECTION; SUPERVISE PREPARATION OF EXHIBITS AND FILING OF SAME;
                   PARTICIPATE IN TELEPHONE CONFERENCE WITH EQUITYHOLDER'S COUNSEL REGARDING
                   OBJECTIONS.                                                                                  2.00      770.00
             JL    OFFICE CONFERENCE WITH RECEIVER REGARDING STATUS UPDATE.                                     0.10        0.00

03/21/2023   JL    WORK ON OBJECTION TO CLAIM NO. 9.                                                            2.90      826.50
             JL    TELEPHONE CONFERENCE WITH AND EMAIL WITH S. DAVIS REGARDING CLAIM NO. 9.                     0.20       57.00

03/22/2023   ILK   EXCHANGE EMAILS WITH CLAIMANT REGARDING OBJECTION TO PROOF OF CLAIM; REVIEW
                   DOCUMENTATION REGARDING SAME.                                                                1.50      577.50
             JL    WORK ON OBJECTION TO CLAIM NO. 9.                                                            1.60      456.00

03/23/2023   ILK   EDIT OBJECTION TO PROOF OF CLAIMS; EXCHANGE EMAIL WITH COUNSEL FOR EQUITY
                   HOLDERS REGARDING SAME.                                                                      1.40      539.00
             JL    WORK ON OBJECTION TO CLAIM NO. 9.                                                            3.30      940.50

03/24/2023   ILK   EDIT OBJECTION TO PROOF OF CLAIMS; EDIT RECEIVER'S AFFIDAVIT IN SUPPORT OF PROOF
                   OF CLAIM; EXCHANGE EMAILS AND PARTICIPATE IN OFFICE CONFERENCES WITH MS. LE
                   REGARDING SAME.                                                                              3.40    1,309.00
             JL    WORK ON OBJECTION TO CLAIM NO. 9.                                                            3.50      997.50

03/27/2023   ILK   EDIT OBJECTION TO PROOF OF CLAIM; PREPARE EMAIL TO AFFIANT REGARDING AFFIDAVIT
                   IN SUPPORT OF SAME; EDIT DRAFT AFFIDAVIT IN SUPPORT OF SAME.                                 0.80      308.00

03/28/2023   ILK   PARTICIPATE IN TELEPHONE CONFERENCE WITH AFFIANT REGARDING AFFIDAVIT IN
                   SUPPORT OF PROOF OF CLAIM; REVIEW AFFIDAVIT; EXCHANGE EMAILS WITH AFFIANT
                   REGARDING EXECUTION OF SAME; PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER
                   REGARDING CLAIM OBJECTIONS; RESEARCH ISSUES REGARDING SERVICE.                               0.80      308.00

03/29/2023   ILK   EDIT OBJECTION TO PROOF OF CLAIM.                                                            0.50      192.50

03/30/2023   ILK   EXCHANGE EMAILS WITH EQUITY HOLDERS' COUNSEL REGARDING OBJECTIONS;
                   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING SAME; EXCHANGE EMAIL
                   WITH CLAIMANT REGARDING DOCUMENTARY SUPPORT.                                                 0.50      192.50

03/31/2023   ILK   REVIEW OBJECTIONS TO CLAIMS FILED BY INTERESTED PARTIES.                                     0.90      346.50

04/13/2023   JL    OFFICE CONFERENCE WITH RECEIVER REGARDING NEXT STEPS FOR CREDITORS CLAIMS.                   0.10       28.50

04/14/2023   ILK   PARTICIPATE IN TELEPHONE CONFERENCE AND EXCHANGE EMAILS WITH CLAIMANT'S
                   COUNSEL REGARDING OBJECTION; EXCHANGE EMAILS WITH TRUSTEE REGARDING SAME.                    0.40      154.00

05/02/2023   JL    WORK ON NOTICE AND REQUEST TO SUSTAIN OBJECTION.                                             0.40      114.00
             ILK   PREPARE NOTICE AND REQUEST TO SUSTAIN OBJECTIONS; EXCHANGE EMAILS WITH MS. LE
                   AND EQUITY HOLDER'S COUNSEL REGARDING SAME.                                                  2.00      770.00

05/03/2023   ILK   EDIT REQUEST TO SUSTAIN OBJECTIONS AND PROPOSED ORDER IN FAVOR OF SAME.                      0.50      192.50
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                                                                                                            HOURS
05/04/2023   ILK   RESEARCH ISSUES REGARDING RESPONSES TO OBJECTIONS; PARTICIPATE IN OFFICE
                   CONFERENCE WITH RECEIVER REGARDING SAME.                                                     0.70      269.50

05/05/2023   ILK   EXCHANGE EMAILS WITH EQUITY HOLDER'S COUNSEL REGARDING CLAIM OBJECTIONS.                     0.20       77.00

05/08/2023   JL    ANALYZE RESPONSES TO OBJECTIONS.                                                             0.40      114.00
             JL    TELEPHONE CONFERENCE WITH S. BARNES, I. KENNEDY, AND RECEIVER TO STRATEGIZE
                   RESPONSES AND POTENTIAL SETTLEMENT OF CLAIMS.                                                0.60        0.00
             JL    CORRESPOND REGARDING INDEMNIFICATION ISSUE.                                                  0.50        0.00
             JL    ANALYZE DOCUMENT PRODUCTION RELATED TO PCS.                                                  0.60      171.00
             JL    WORK ON INTERROGATORIES AND REQUESTS FOR PRODUCTION.                                         2.00      570.00
             ILK   PARTICIPATE IN TELEPHONE CONFERENCE WITH EQUITY HOLDER'S COUNSEL REGARDING
                   CLAIM OBJECTIONS AND STRATEGY FOR REPLIES; RESEARCH ISSUES REGARDING SAME;
                   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING SAME; RESEARCH ISSUES
                   REGARDING CLAIM OBJECTIONS.                                                                  3.60    1,386.00

05/09/2023   JL    OFFICE CONFERENCE WITH RECEIVER REGARDING STATUS REPORT.                                     0.10       28.50
             JL    RESEARCH CLAIMANT'S STATUS FOR DISCOVERY PURPOSES.                                           0.90      256.50

05/10/2023   JL    WORK ON REPLY IN SUPPORT OF OBJECTION.                                                       4.30    1,225.50
             JL    CONVERT DISCOVERY REQUESTS IN SUBPOENAS.                                                     0.20       57.00
             ILK   EXCHANGE EMAILS WITH CLAIMANT'S COUNSEL AND EQUITY HOLDER'S COUNSEL
                   REGARDING OBJECTIONS; RESEARCH ISSUES REGARDING DISCOVERY ON CLAIMANTS;
                   EXCHANGE EMAILS WITH RECEIVER AND MS. LE REGARDING SAME.                                     0.90      346.50

05/11/2023   JL    WORK ON REPLY IN SUPPORT OF OBJECTION FOR CLAIM 10.                                          1.00      285.00
             ILK   PREPARE REPLY TO CLAIMANTS' RESPONSES TO OBJECTIONS; EXCHANGE EMAILS WITH
                   RECEIVER AND MS. LE REGARDING SAME; PARTICIPATE IN OFFICE CONFERENCE WITH
                   RECEIVER REGARDING SAME; PARTICIPATE IN TELEPHONE CONFERENCE WITH EQUITY
                   HOLDER'S COUNSEL REGARDING SAME; RESEARCH ISSUES REGARDING CLAIM OBJECTIONS;
                   EXCHANGE EMAILS WITH CLAIMANT'S COUNSEL REGARDING SAME.                                      5.10    1,963.50

05/12/2023   JL    WORK ON REPLY IN SUPPORT OF OBJECTION FOR CLAIM 10.                                          0.20       57.00
             JL    WORK ON REPLY IN SUPPORT OF OBJECTION FOR CLAIM 6.                                           0.60      171.00
             ILK   PREPARE REPLY TO CLAIMANTS' RESPONSES TO OBJECTIONS; EXCHANGE EMAILS WITH
                   RECEIVER AND MS. LE REGARDING SAME; PARTICIPATE IN OFFICE CONFERENCE WITH
                   RECEIVER REGARDING SAME; PARTICIPATE IN TELEPHONE CONFERENCE WITH COUNSEL
                   REGARDING SAME; RESEARCH ISSUES REGARDING CLAIM OBJECTIONS; PARTICIPATE IN
                   TELEPHONE CONFERENCE WITH CLAIMANT'S COUNSEL; EXCHANGE EMAILS WITH
                   OPPOSING COUNSEL REGARDING SETTLEMENT.                                                       5.70    2,194.50

05/14/2023   ILK   EDIT REPLIES PCS AND HP CLAIMANTS RESPONSES TO OBJECTIONS; EXCHANGE EMAILS
                   WITH RECEIVER AND MS. LE REGARDING SAME.                                                     3.00    1,155.00

05/15/2023   JL    WORK ON REPLY IN SUPPORT OF OBJECTION FOR CLAIM 10.                                          1.90      541.50
             JL    ANALYZE DOCUMENT PRODUCTION TO RESEARCH CARLOS CAMPOS' EMPLOYMENT
                   STATUS, PCS PAYMENTS, AND MANAGEMENT MANUAL FOR THE HOTEL.                                   1.10      313.50
             ILK   EDIT REPLIES TO HP, PCS AND HUI CLAIMANTS RESPONSES TO OBJECTIONS; SUPERVISE
                   FILING OF SAME.                                                                              6.00    2,310.00

05/16/2023   ILK   REVIEW EMAIL FROM HUI CLAIMANTS REGARDING SETTLEMENT; EXCHANGE EMAILS WITH
                   RECEIVER AND PLAINTIFFS' COUNSEL REGARDING SAME.                                             0.40      154.00
             ILK   EXCHANGE EMAILS WITH HUI CLAIMANTS AND RECEIVER REGARDING SETTLEMENT;
                   EXCHANGE EMAILS WITH HP CLAIMANT AND RECEIVER REGARDING SETTLEMENT;
                   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING CLAIM OBJECTIONS.                   0.90      346.50

05/17/2023   JL    OFFICE CONFERENCE WITH I. KENNEDY REGARDING DISCOVERY RELATED TO CLAIM NO.
                   10.                                                                                          0.10        0.00
             ILK   PARTICIPATE IN OFFICE CONFERENCE WITH TRUSTEE REGARDING OFFER FROM HUI
                   CLAIMANTS; PARTICIPATE IN TELEPHONE CONFERENCE WITH PLAINTIFFS' COUNSEL
                   REGARDING HUI CLAIMANTS OFFER; EXCHANGE EMAIL WITH HUI CLAIMANTS' COUNSEL
                   REGARDING SETTLEMENT.                                                                        1.00      385.00

05/19/2023   JL    ATTENTION TO DOCUMENT PRODUCTION TO PCS RELATED TO CLAIM NO. 10.                             1.60      456.00
             ILK   PARTICIPATE IN TELEPHONE CONFERENCE WITH HUI CLAIMANTS' COUNSEL REGARDING
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                                                                                                                      HOURS
                   MEDIATION AND SETTLEMENT.                                                                            0.40        154.00
             ILK   EXCHANGE EMAIL WITH RECEIVER REGARDING HUI CLAIM SETTLEMENT.                                         0.10         38.50
             ILK   EDIT SUBPOENA TO PROPERTY CARE SERVICES; FINALIZE SERVICE OF SAME.                                   0.40        154.00

05/22/2023   ILK   EXCHANGE EMAILS WITH HP CLAIMANT COUNSEL REGARDING SETTLEMENT OFFER;
                   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER REGARDING SAME.                                         0.30      115.50

05/26/2023   ILK   PARTICIPATE IN OFFICE CONFERENCE WITH RECEIVER; EXCHANGE EMAIL WITH HUI
                   CLAIMANT'S COUNSEL REGARDING SETTLEMENT OFFER; EDIT SUBPOENA TO PCS COUNSEL;
                   EXCHANGE EMAIL WITH PCS CLAIMANT'S COUNSEL REGARDING MEDIATION AND
                   SUBPOENA.                                                                                              1.00      385.00

05/30/2023   ILK   EXCHANGE EMAILS WITH OPPOSING COUNSEL AND CLIENT REGARDING SETTLEMENT;
                   PARTICIPATE IN TELEPHONE CONFERENCE WITH OPPOSING COUNSEL REGARDING
                   SETTLEMENT POSSIBILITY.                                                                                0.40      154.00

05/31/2023   ILK   EXCHANGE EMAILS WITH OPPOSING COUNSEL AND RECEIVER REGARDING SERVICE OF
                   SUBPOENA AND MEDIATION; EXCHANGE EMAILS WITH RECEIVER AND MS. LE REGARDING
                   AGREED JUDGMENT ON HP CLAIM.                                                                           0.60      231.00
             JL    WORK ON PROPOSED AGREED ORDER.                                                                         0.40      114.00
                   FOR CURRENT SERVICES RENDERED                                                                     248.10       77,720.00

                                                                EXPENSES

                   COPIES                                                                                                             2.50
                   POSTAGE                                                                                                           64.89
                   SEARCH - TXCOURTS.GOV                                                                                             10.80
                   NOTICE - HEARST NEWSPAPERS, LLC                                                                                  454.80
                   RESEARCHTX                                                                                                         1.35
                   RESEARCH TX                                                                                                        4.35
                   MAIL OUT                                                                                                         144.30
                   MAIL OUT                                                                                                          54.80
                   MAIL OUT                                                                                                          79.75
                   CERTIFIED MAIL                                                                                                    29.22
                   FEDEX                                                                                                            117.34
                   COPIES                                                                                                            45.40
                   ONLINE LEGAL RESEARCH                                                                                            839.60
                   PACER ELECTRONIC RESEARCH                                                                                         37.10
                   TEXAS SECRETARY OF STATE                                                                                           4.00
                   TOTAL EXPENSES THRU 05/31/2023                                                                                  1,890.20

                   TOTAL CURRENT WORK                                                                                             79,610.20


                   BALANCE DUE                                                                                                   $79,610.20

                   PLEASE REMIT                                                                                                  $79,610.20




                              The State Bar of Texas investigates and prosecutes professional misconduct
                            committed by Texas Attorneys. Although not every complaint against or dispute
                             with a lawyer involves professional misconduct, the State Bar Office of General
                              Counsel will provide you with information about how to file a complaint. For
                                                 more information call 1-800-932-1900.

                                          PLEASE INDICATE OUR INVOICE NO. ON YOUR CHECK

                                                 FEDERAL TAX ID NUMBER: XX-XXXXXXX
